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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    CARLOS GONZALEZ, JUAN JOSE                         Case No.: 17-CV-2573 JLS (SBC)
      MERINO-RODAS, MARIBEL
12
      GUTIERREZ-CANCHOLA, GLADYS                         ORDER CONTINUING STAY
13    CARRERA-DUARTE, and JENNYE
      PAGOADA-LOPEZ, individually and on                 (ECF. No. 51)
14
      behalf of all others similarly situated,
15                                     Plaintiffs,
16    v.
17
      CORECIVIC, INC.,
18                                    Defendant.
19
20         Presently before the Court is the Parties’ Joint Status Report (“JSR,” ECF No. 51).
21   For the reasons stated below, the Court CONTINUES ITS STAY of the instant action.
22                                           BACKGROUND
23         This case involves allegations that Defendant CoreCivic, Inc. undercompensated
24   some civil immigration detainees and forced others to work while detained. See ECF No.
25   44 (the “Order”) at 5. The Court previously stayed this action pending the resolution of
26   class certification in a related case, Owino v. CoreCivic, Inc., 17-CV-1112. Order at 9–10.
27   After the Court certified the Owino class, the Court asked the Parties to file a joint status
28   report outlining their anticipated next steps in this litigation. See ECF No. 50.

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 1         In the JSR, Plaintiffs indicate that they “understand that they are members in the
 2   Owino [c]lass.” JSR at 2. The Parties therefore “intend to wait for the Owino [a]ction to
 3   proceed to its completion” to take further action, reasoning that litigating this case
 4   alongside Owino risks the “waste of judicial resources and/or prejudice [to either] party’s
 5   position.” See id. Thus, the Court must determine whether to continue its previous stay.
 6                                         LEGAL STANDARD
 7         The Court may stay an action pending resolution of independent proceedings where
 8   “it is efficient for its own docket and the fairest course for the parties.” Leyva v. Certified
 9   Grocers of Cal., Ltd., 593 F.2d 857, 863 (9th Cir. 1979). When determining whether a stay
10   is appropriate, the Court must consider (1) “the possible damage which may result from
11   the granting of a stay,” (2) “the hardship or inequity which a party may suffer in being
12   required to go forward,” and (3) “the simplifying or complicating of issues, proof, and
13   questions of law which could be expected to result from a stay.” CMAX, Inc. v. Hall, 300
14   F.2d 265, 268 (9th Cir. 1962).
15                                               ANALYSIS
16         In the instant action, the above factors weigh in favor of a continued stay. First,
17   because Plaintiffs assert that they can obtain relief as members of the Owino class, staying
18   this case will not delay any potential recovery by Plaintiffs. See JSR at 2. Maintaining the
19   stay will not damage Defendant for a similar reason; if Plaintiffs indeed obtain relief
20   through the Owino action, that relief “would satisfy the claims in this action.” See id.
21         Moreover, because this action and the Owino action involve the same or intertwined
22   facts, witnesses, and legal claims, proceeding with this case would result in duplicative
23   discovery, added complexity, and increased litigation costs for both parties. See Order at
24   6, 9. By contrast, continuing the stay in this action will allow the parties in Owino to
25   resolve those shared legal and factual issues, which will simplify this action should it
26   resume. Thus, the second and third factors both weigh in favor of a stay.
27   ///
28   ///

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 1                                       CONCLUSION
 2         The Court therefore CONTINUES ITS STAY of the instant action pending the
 3   resolution of Owino. The Parties SHALL FILE a joint status report, not to exceed ten (10)
 4   pages, within fourteen (14) days of the resolution of Owino. Should Owino proceed in a
 5   manner that is unsatisfactory to either Party, that Party may move to lift the Court’s stay
 6   after conferring with the opposing Party.
 7         IT IS SO ORDERED.
 8   Dated: September 28, 2023
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